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             IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
_______________________________
                                )
UNITED STATES OF AMERICA, )
                                )
                Plaintiff,      )
                                )
          v.                    ) Civ. No. 1:24-cv-02010-WMR-JEM
                                )
COBB COUNTY, GEORGIA,           )
                                )
                Defendant.      )
_______________________________)

 JOINT MOTION FOR PROVISIONAL ENTRY OF CONSENT DECREE
 AND SCHEDULING A FAIRNESS HEARING ON THE TERMS OF THE
                    CONSENT DECREE

      Plaintiff United States of America (“United States”) and Defendant Cobb

County, Georgia (“Defendant”) (collectively, the “Parties”) jointly move the Court

to provisionally enter the proposed Consent Decree (“Decree”), attached as Exhibit

A, and schedule a fairness hearing on the terms of the Decree no less than 120 days

from the Court’s Order on this Joint Motion, as provided in Paragraphs 14 and 15

of the Decree. The Parties further move the Court to stay all deadlines pending the

Court’s determination as to whether to enter the Decree as a final order.

      The Decree will resolve all claims in this civil action alleging that the

Defendant, through the Cobb County Fire Department (“CCFD”), engaged in a

pattern or practice of discrimination against African-American firefighter
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applicants in violation of Title VII of the Civil Rights Act of 1964, as amended, 42

U.S.C. § 2000e, et seq., when it used a written exam as a rank-order screening

device in 2020 and used a credit check to screen out applicants from 2016 to 2020.

The fairness hearing on the terms of the Decree would allow the Court

to hear any objections to the terms of the Decree and to decide whether to enter the

Decree as a final order.

      As set forth in the accompanying Memorandum of Law, the Court should

provisionally enter the Decree because its terms are fair, adequate, reasonable, and

not the result of collusion. Greco v. Ginn, 635 F. App’x 628, 632 (11th Cir. 2015)

(citing Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977)). Accordingly, the

Parties respectfully request that the Court provisionally enter the Decree and

schedule a fairness hearing on the terms of the Decree no less than 120

days from the date of the Court’s Order on this Joint Motion.

Date: May 9, 2024



Respectfully submitted,

For Plaintiff United States of America:

By:

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Northern District of Georgia                  Civil Rights Division


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